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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC,

            Plaintiff,
                                                     C.A. No. 1:18-cv-00682-GMS
      v.
                                                     TRIAL BY JURY DEMANDED
BJ’S WHOLESALE CLUB, INC.‚

            Defendant.

                             RESPONSE TO COUNTERCLAIMS

       Plaintiff and Counterdefendant Symbology Innovations, LLC (“Symbology”) hereby

responds to and answers the Counterclaims (Dkt. No. 9) of Defendant and Counterclaimant BJ’S

Wholesale Club, Inc., (“BJ Corporation” or “Counterclaimant”) as follows:

                                                 PARTIES

       1.      Symbology admits the allegations in Paragraph 1.

       2.      Symbology admits the allegations in Paragraph 2.

                                               JURISDICTION

       3.      Paragraph 3 requires no response from Symbology. Symbology re-alleges and

       incorporates by reference the statements and allegations set forth in paragraphs 1-2 with

       the same force and effect as if fully rewritten herein.

       4.      Symbology admits that the counterclaims purport to arise under the patent laws of

       the United States, Title 35, United States Code and that jurisdiction of this Court is

       proper under 28 U.S.C. §§ 1331, 1338, and 2201–02. Symbology denies any and all

       remaining allegations in Paragraph 4.

       5.      Symbology admits the allegations in Paragraph 5.
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     6.     Symbology admits that venue is proper this district pursuant at least 28 U.S.C. §

     1400. Symbology denies any and all remaining allegations in Paragraph 6.

                                              COUNT I

                    DECLARATION REGARDING NON-INFRINGEM ENT

     7.     Paragraph 7 requires no response from Symbology. Symbology re-alleges and

     incorporates by reference the statements and allegations set forth in paragraphs 1-6 with

     the same force and effect as if fully rewritten herein.

     8.     Symbology admits the allegations in Paragraph 8.

     9.     Symbology denies the allegations in Paragraph 9.

     10.    Symbology admits that BJ, pursuant to the Federal Declaratory Judgment Act, 28

     U.S.C. §2201 et seq., purports to request a declaration by the Court that BJ does not

     infringe any claim of the Asserted Patents under any theory (including directly (whether

     individually or jointly) or indirectly (whether contributorily or by inducement)).

     Symbology denies any and all remaining allegations in Paragraph 10.

                                              COUNT II

                         DECLARATION REGARDING INVALIDITY

     11.    Paragraph 11 requires no response from Symbology. Symbology re-alleges and

     incorporates by reference the statements and allegations set forth in paragraphs 1-10 with

     the same force and effect as if fully rewritten herein.

     12.    Symbology admits the allegations in Paragraph 12.

     13.    Symbology denies the allegations in Paragraph 13.

     14.    Symbology admits that BJ, pursuant to the Federal Declaratory Judgment Act, 28

     U.S.C. §2201 et seq., purports to request a declaration by the Court that the Asserted

     Patents are invalid for failure to comply with one or more of the requirements of United
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       States Code, Title 35, including without limitation, 35 U.S.C. §§ 101, 102, 103, and 112,

       and the rules, regulations, and laws pertaining thereto. Symbology denies any and all

       remaining allegations in Paragraph 14.

                                         PRAYER FOR RELIEF

       Counterclaimant’s Prayer For Relief requires no answer. To the extent that an answer is

required, Symbology denies any and all allegations in the Prayer For Relief and denies that

Counterclaimant is entitled to any relief, including any declaration, injunction, costs, attorneys’

fees, expenses, or any other relief of any kind, including, without limitation, subparagraphs (a)

through (h) of Counterclaimant’s Prayer For Relief.

                                                JURY DEMAND

       Symbology admits that BJ purports to demand a trial by jury of this action.

                                           GENERAL DENIAL

       Symbology denies each and every allegation in the Counterclaims to which Symbology

has not specifically responded and expressly admitted, including any allegations that may be

implied by or inferred from the headings of the same.

                                    AFFIRMATIVE DEFENSES

                                              First Defense
                                        (Failure to State a Claim)

       1.      The Counterclaims fail to state a claim upon which relief can be granted. The

Counterclaims do not meet the pleading requirements set forth in the Federal Rules of Civil

Procedure as explained by the U.S. Supreme Court in Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 555 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009). Specifically, the Counterclaims fail

to properly allege non-infringement of the Asserted Patents as well as invalidity under the

provisions of Title 35, United States Code.
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                                         Second Defense
                             (No Exceptional Case or Attorney’s Fees)

       2.      Counterclaimant cannot meet the requirements for an exceptional case or an

award of attorney’s fees pursuant to 35 U.S.C. § 285.

                                          Third Defense
                              (Reservation of all affirmative defenses)

       3.      Symbology reserves the right to assert additional affirmative defenses and other

defenses permitted under the Federal Rules of Civil Procedure, the patent laws of the United

States, and/or at law or in equity, as they may now exist, be discovered, or otherwise become

available based on discovery and further investigation in this case.

                                    PRAYER FOR RELIEF

       The Counterclaims should be dismissed, and the relief Symbology prays for in the

Complaint should be granted.

Dated: June 11, 2018                           Respectfully Submitted,

                                               STAMOULIS & WEINBLATT LLC

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